 Fill in thisCase   25-50430-lrc
             information                   Doc 1
                         to identify the case:            Filed 01/14/25 Entered 01/14/25 13:18:17                              Desc Main
                                                          Document      Page 1 of 17
     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Georgia (State)

                                                                      11
     Case number (If known): _________________________ Chapter ______
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Nutracap   Holdings, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               2825 Pacific Dr                                          _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite C
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Norcross                    GA      30071
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Gwinnett County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                https://www.nutracapusa.com/
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
              Case 25-50430-lrc            Doc 1       Filed 01/14/25 Entered 01/14/25 13:18:17                                Desc Main
                                                       Document      Page 2 of 17
                Nutracap Holdings, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            311999
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
       A debtor who is a “small business
       debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       under subchapter V of chapter 11
       (whether or not the debtor is a                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
       “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                          Chapter 12


9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
          Case 25-50430-lrc                 Doc 1         Filed 01/14/25 Entered 01/14/25 13:18:17                              Desc Main
                                                          Document      Page 3 of 17
               Nutracap Holdings, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199
                                           ✔
                                                                             10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million
                                                                            ✔
                                                                                                                      $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
           Case 25-50430-lrc                 Doc 1        Filed 01/14/25 Entered 01/14/25 13:18:17                                Desc Main
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             Nutracap Holdings, LLC
Debtor       _______________________________________________________                             Case number (if known)_____________________________________
             Name



                                          $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million
                                                                                 ✔
                                                                                                                         $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            01/14/2025
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/ Marcos Fabio Lopes e Lima
                                              _____________________________________________               Marcos Fabio Lopes e Lima
                                                                                                         _______________________________________________
                                              Signature of authorized representative of debtor           Printed name

                                                     CEO
                                              Title _________________________________________




18. Signature of attorney
                                          /s/ William Rountree
                                              _____________________________________________              Date         01/14/2025
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM   / DD / YYYY



                                              William Rountree
                                              _________________________________________________________________________________________________
                                              Printed name
                                              Rountree, Leitman, Klein & Geer, LLC
                                              _________________________________________________________________________________________________
                                              Firm name
                                              2987 Clairmont Road Suite 350
                                              _________________________________________________________________________________________________
                                              Number     Street
                                              Atlanta
                                              ____________________________________________________            GA             30329
                                                                                                             ____________ ______________________________
                                              City                                                           State        ZIP Code

                                              404-584-1238
                                              ____________________________________                              wrountree@rlkglaw.com
                                                                                                             __________________________________________
                                              Contact phone                                                  Email address



                                              616503                                                          GA
                                              ______________________________________________________ ____________
                                              Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
               Case 25-50430-lrc                  Doc 1        Filed 01/14/25 Entered 01/14/25 13:18:17                                Desc Main
                                                               Document      Page 5 of 17
      Fill in this information to identify the case:

                    Nutracap Holdings, LLC
      Debtor name __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                            Check if this is an
      Case number (If known):   _________________________                                                                                       amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,          Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of             (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact                 debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                                professional        unliquidated, total claim amount and deduction for value of
                                                                                services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                     Total claim, if   Deduction for      Unsecured
                                                                                                                     partially         value of           claim
                                                                                                                     secured           collateral or
                                                                                                                                       setoff
     Ramp Business Corporation                 Hinh Tran, Senior Counsel      Services                Disputed
1    28 West 23rd Street Floor 2               hinh.tran@ramp.com                                     Unliquidated
     New York, NY, 10010                                                                              Contingent                                         460,051.02


     Nash Commercial Incorporated                                             Suppliers or Vendors
2    3131 Piedmont Road Suite 200
     Atlanta, GA, 30305
                                                                                                                                                         400,209.62


     Freemen Nutra Group, LLC                                                 Settlement
3    fka Shanghai Freemen Americas LL                                                                 Unliquidated
     200 Metroplex Dr Ste 402                                                                         Contingent                                         320,000.00
     Edison, NJ, 08817


     Gopher Mats LLC, Viking Mat Company                                      Suppliers or Vendors
4    7480 Flying Cloud Drive Suite 400
     Eden Prairie, MN, 55344                                                                                                                             247,500.13


     Certified Laboratories                                                   Suppliers or Vendors
5    3218 Commander Drive
     Carrollton, TX, 75006                                                                                                                               229,724.40


     Bennett Graphics                                                         Suppliers or Vendors
6    125 Royal Woods Court Suite 100
     Tucker, GA, 30084                                                                                                                                   202,588.90


     INGREDIENTS ONLINE                                                       Suppliers or Vendors
7    13875 Cerritos Corporate Drive Suite A
     Cerritos, CA, 90703                                                                                                                                 188,265.50


     Vitajoy Group USA                         Angela Keene                  Suppliers or Vendors     Disputed
8    12091 Forestgate Drive                    angela.keene@brownandjoseph.c                          Unliquidated
     Dallas, TX, 75243                         om                                                     Contingent                                         179,375.00




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                 Case 25-50430-lrc              Doc 1      Filed 01/14/25 Entered 01/14/25 13:18:17                               Desc Main
                                                           Document      Page 6 of 17
                     Nutracap Holdings, LLC
    Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                    Name




     Name of creditor and complete            Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
     Prescott Advisory, LLC                                              Suppliers or Vendors
9    152 Lincoln Road Unit 5
     Lincoln, MA, 1773                                                                                                                              175,528.00


     HM Peachtree Corners I LLC
10 PO Box 32149
     New York, NY, 10087-2149                                                                                                                       172,320.79



     Dyad Labs                                                           Suppliers or Vendors
11 1945 S Fremont Dr
     Salt Lake City, UT, 84104                                                                                                                      172,296.68


     Berlin Packaging                                                    Suppliers or Vendors
12 P. O. Box 74007164
     Chicago, IL, 60674-7164                                                                                                                        145,285.10



     Caine & Weiner Company Inc.
13 5805 Sepulveda Blvd. 4th Floor
     Sherman Oaks, CA, 91411                                                                                                                        139,609.51


     SOCAL BULK NUTRITION LLC                                            Suppliers or Vendors
14 4000 Barranca Pkwy Suite 250
     Irvine, CA, 92606                                                                                                                              122,892.50


     Environmental Research Center (ERC)                                 Suppliers or Vendors
15 306 Joy Street
     Fort Oglethorpe, GA, 30742
                                                                                                                                                    119,000.00


     Nutravative Ingredients                                             Suppliers or Vendors
16 1305 North Watters Road Suite 180
     Allen, TX, 75013                                                                                                                               98,172.25


     Food Safety Net Services                                            Suppliers or Vendors
17 P.O. Box 736407
     Dallas, TX, 75373-6407
                                                                                                                                                    78,686.20


     Prinova USA                                                         Suppliers or Vendors
18 36780 Eagle Way
     Chicago, IL, 60678-1367                                                                                                                        63,452.75


     Nutraceuticals International                                        Suppliers or Vendors
19 50 Sindle Avenue
     Little Falls, NJ, 7424
                                                                                                                                                    63,211.22


     HealthCaps, LLC                                                     Suppliers or Vendors
20 7345 West 20th Ave
     Hialeah, FL, 33014                                                                                                                             62,437.52




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
            Case 25-50430-lrc                Doc 1       Filed 01/14/25 Entered 01/14/25 13:18:17                             Desc Main
                                                         Document      Page 7 of 17
 Fill in this information to identify the case and this filing:

              Nutracap Holdings, LLC
 Debtor Name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    01/14/2025
        Executed on ______________                          /s/ Marcos Fabio Lopes e Lima
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Marcos Fabio Lopes e Lima
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  CEO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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A to J Group LLC                                     Analytical Resource Laboratories - ARL
111 AYERS DRIVER ROAD                                520 South 850 East Suite B3
Villa Rica, GA 30180                                 Lehi, UT 84043


AA PHARMACHEM INC. USA                               Anderson Advanced Ingredients
16885 West Bernardo Drive Suite 100                  2030 Main Street Suite 430
San Diego, CA 92127                                  Irvine, CA 92614


ABBOTT BLACKSTONE COMPANY                            ARISTA INDUSTRIES INC
411 Cleveland St #198                                557 Danbury Road
Clearwater, FL 33755                                 Wilton, CT 6897


Advance Fire Inspection                              Arthur Leach
3308 Peachtree Industrial Blvd                       4080 McGinnis Ferry Road Suite 401
Duluth, GA 30096                                     Alpharetta, GA 30005


AFS                                                  AstaReal Inc
PO BOX 18410                                         7761 Randolph Rd. NE
SHREVEPORT, LA 71138                                 Mose Lake, WA 98837


AHB US LLC                                           Atlantic Trailer Leasing and Sales, LLC
100 Canal Pointe Blvd suite 204                      P.O. Box 3737
Princeton, NJ 8540                                   Lilburn, GA 30048


AlfaCaps                                             BannerBio
151 1st Ave #115                                     Unit B 1/F West Section 2 Bldg 25th Keyuan West
New York, NY 10003                                   No.5 Kezhi West Rd Nanshan District
                                                     Shenzhen China,

Alkemist Labs
12661 Hoover St                                      Batory Foods
Garden Grove, CA 92841                               P. O. Box 75162
                                                     Chicago, IL 60675-5162

Amelic e Servicos Ltda
420 Alameda Oscar Niemeyer                           Bella Printing, LLC
Room 405 Nova Lima 34.006-049                        c/o Joey Sanducci | Ryan & Jacobs
Brazil,                                              5465 Legacy Drive, Ste. 650
                                                     Plano, TX 75024

AMERICAN RIVER NUTRITION, LLC
333 Venture Way                                      Benchmark Automation
Hadley, MA 1035                                      P. O. Box 932813
                                                     Cleveland, OH 44193

American World Trade
45 N. Broad St Suite 401                             Bennett Graphics
Ridgewood, NJ 7450                                   125 Royal Woods Court Suite 100
                                                     Tucker, GA 30084

AmTrust North America
PO Box 6939                                          Berlin Packaging
Cleveland, OH 44101                                  P. O. Box 74007164
                                                     Chicago, IL 60674-7164
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Beyer Graphics Inc.                                   Century Fire Protection
30 Austin Blvd.                                       2450 Satellite Blvd Div 8
Commack, NY 11725                                     Duluth, GA 30096


Bio Peptek                                            Certified Laboratories
5 Great Valley Parkway Suite 100                      3218 Commander Drive
Malvern, PA 19355                                     Carrollton, TX 75006


Blake & Pendleton Compressed Air Systems              Charles Bowman Co.
2125 JASON IND. PKWY.                                 PO Box 775343
WINSTON, GA 30187                                     Chicago, IL 60677


bld.ai                                                CI ATL III-GW, LLC
621 NW 53rd St Suite 240                              c/o ColFin 2018-7 Industrial Owner
Boca Raton, FL 33487                                  PO Box 208383
                                                      Dallas, TX 75320-8383

Blossman Gas & Appliance
4319 Mundy Mill Road                                  Cintas
Oakwood, GA 30566                                     P. O. Box 636525
                                                      Cincinnati, OH 45263-6525

Brown & Joseph, LLC
One Pierce Pl Suite 700W                              Clariant Corporation
Itasca, IL 60143                                      101 Christine Dr
                                                      Belen, NM 87002

Bulk Apothecary
115 Lena Drive                                        Coasta Tanning Resort
Aurora, OH 44202                                      c/o The Law Offices of James E Nash Jr LLC
                                                      3487 English Oaks Drive
                                                      Kennesaw, GA 30144
Butter Buds Food Ingredients
2330 Chicory Road
Racine, WI 53403                                      Colmaric Analyticals Llc
                                                      3235 Fairfield Avenue South Suite A
                                                      Saint Petersburg, FL 33712
C2C Nutra, LLC
PO Box 932
Clifton, NJ 7014                                      Colonial Energy INC-Georgia
                                                      2985 Highway 17
                                                      Clarkesville, GA 30523
Caine & Weiner Company Inc.
5805 Sepulveda Blvd. 4th Floor
Sherman Oaks, CA 91411                                Container and Packaging
                                                      1345 E. State Street
                                                      Eagle, ID 83616
Catalyst Nutraceuticals
1720 Peachtree Industrial Blvd
Buford, GA 30518                                      Craftsman Chemical
                                                      245 Advanced Drive
                                                      Springboro, OH 45066
Central Nervous Systems
Vancover BC V6B 2M1
Canada, BC                                            CREATIVE BIOMART INC
                                                      45-1 Ramsey Roada
                                                      Shirley, NY 11967
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Creative Compounds                                    Environmental Research Center (ERC)
P.O. Box 4011                                         306 Joy Street
Scott City, MO 63780                                  Fort Oglethorpe, GA 30742


Creative Enzimes                                      Erich Durlacher
45-1 Ramsey Rd                                        Burr & Forman
Shirley, NY 11967                                     1075 Peachtree Street NE, Suite 3000
                                                      Atlanta, GA 30309

Daane Labs
4795 Enterprise Ave                                   Essential Wholesale and Labs
Naples, FL 34104                                      2538 NW 22nd Place
                                                      Portland, OR 97210

Daniel L Blasczyk
10595 Veterans Memorial Highway                       ETHICAL NATURALS, INC.
Lithia Springs, GA 30122                              2731 Fair Oaks Avenue
                                                      Redwood City, CA 94063

David Bromwich
c/o Brad Fallon|Fallon Law PC                         Eurofins Food Chemistry Testing Madison, Inc.**
1201 W. Peachtree St NW Ste 2625                      PO BOX 1482
Atlanta, GA 30309                                     Carol Stream, IL 60132


DHL EXPRESS                                           EXBERRY¨ GNT USA, LLC
16592 COLLECTIONS CENTER DR                           5731 HR Mierlo The Netherlands
Chicago, IL 60693                                     Dallas, NC 28034


dialpad Inc                                           Federal Express
12935 Alcosta Blvd Box 559                            PO Box 660481
San Ramon, CA 94583                                   Dallas, TX 75266-0481


Digital Imaging Systems Inc                           FIBER RESEARCH INTERNATIONAL LLC
PO Box 1310                                           860 Johnson Ferry Road Suite 140156
Norcross, GA 30091                                    Atlanta, GA 30342


DIVI'S LABORATORIES USA, INC.                         First Horizon Bank
325 Columbia Turnpike Suite 305                       165 Madison Avenue
Florham Park, NJ 7932                                 Memphis, TN 38103


DUTCH VALLEY FOODS, INC.                              Flavor Insights
PO Box 4657615                                        4795 Industrial Way
Myerstown, PA 17067                                   Benicia, CA 94510


Dyad Labs                                             Food Safety Net Services
1945 S Fremont Dr                                     P.O. Box 736407
Salt Lake City, UT 84104                              Dallas, TX 75373-6407


ECA Pinnacle                                          Formulator Sample Shop
1260 E. Locust St. Suite 302                          135 Joshua Ct
Ontario, CA 91761                                     Lincolnton, NC 28092
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Fortis Solutions Group                                  GLOBALTEK EQUIPMENT LLC
1174 Hayes Industrial Drive                             7354 NW 35TH STREET
Marietta, GA 30062                                      MIAMI, FL 33122


Freemen Nutra Group, LLC                                GOLDEN PEANUT AND TREE NUTS
fka Shanghai Freemen Americas LL                        100 North Point Center East suite 400
200 Metroplex Dr Ste 402                                Alpharetta, GA 30022
Edison, NJ 08817

                                                        Gopher Mats LLC, Viking Mat Company
From Nature With Love                                   7480 Flying Cloud Drive Suite 400
341 Christian Street                                    Eden Prairie, MN 55344
Oxford, CT 6478

                                                        Gwinnett Co. Tax Commissioner
FULLER Enterprise USA Inc                               75 Langley Drive
1735 E Grevillea Ct                                     Lawrenceville, GA 30046
Ontario, CA 91761

                                                        Gwinnett County Dept of Water Resources
Gelnex                                                  684 Winder Hwy
30 N. Michigan Ave                                      Lawrenceville, GA 30045
Ste 505
Chicago, IL 60602
                                                        Gwinnett County Tax Commissioner
                                                        PO Box 372
Georgia Department of Labor                             Lawrenceville, GA 30046
148 Andrew Young Inter. Blvd
Room 738
Atlanta, GA 30303-0000                                  H&M USA
                                                        80 Gordon Drive
                                                        Syosset, NY 11791
Georgia Department of Revenue
1800 Century Blvd
Ste 9100                                                HealthCaps, LLC
Atlanta, GA 30345                                       7345 West 20th Ave
                                                        Hialeah, FL 33014

Georgia Department of Revenue
Compliance Division, ARCS - Bankruptcy                  Hear Nature
1800 Century Blvd NE, Suite 9100                        No. 37, Keji Road Xi'an
Atlanta, GA 30345                                       710075 China


Georgia Industrial Tire                                 Hi-Tech Pharmaceuticals, Inc.
3575 McCall Place                                       6015-B Unity Dr.
Doraville, GA 30340                                     Norcross, GA 30071


Georgia Power                                           HM Peachtree Corners I LLC
241 Ralph McGill Blvd                                   PO Box 32149
Atlanta, GA 30308                                       New York, NY 10087-2149


Glanbia Nutritionals                                    HM Peachtree Corners I LLC
c/o Glanbia Business Services Inc. Dept. 3331
Carol Stream, IL 60132-3331
                                                        HMI Atlanta V LLC
                                                        PO Box 35251
                                                        Newark, NJ 07193-5251
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Honeyrun Farm                                           John Wesley Houser
644 High St                                             c/o Brad Fallon|Fallon Law PC
Worthington, OH 43085                                   1201 W. Peachtree St NW Ste 2625
                                                        Atlanta, GA 30309

Howard Brothers
PO Box 5044                                             Kelly Butcher
Duluth, GA 30096                                        The Kaplan Group Commercial Collections
                                                        154 Addie Street
                                                        Pismo Beach, CA 93449
Hygiena
1801 W Olympic Blvd # File 2007
Pasadena, CA 91199                                      Lab Alley
                                                        12501 Pauls Valley Road Suite A
                                                        Austin, TX 78737
INDENA USA
601 Union Street Suite 330
Seattle, WA 98101                                       LBB Specialties Holding LLC
                                                        601 Merritt 7 1st Floor
                                                        Norwalk, CT 6851
Index Encapsulation Equipment, LLC
1610 Republic Road
Huntingdon Vallet, PA 17067                             Lonza Consumer Health Inc / Capsugel
                                                        P. O. Box 640091
                                                        Pittsburgh, PA 15264
Indian Brook Industrial Inc
P.O. Box 6149
Hicksville, NY 11802-6149                               lotioncrafter
                                                        48 Hope Ln
                                                        Eastsound, WA 98245
INGREDIENTS ONLINE
13875 Cerritos Corporate Drive Suite A
Cerritos, CA 90703                                      Lucas Meyer
                                                        Place de la Cite 2590 Boul. Laurier Tour
                                                        Belle Courbureau 650 Quebec
Internal Revenue Service                                QC G1V 4M6 Canada,
CIO
P.O. Box 7346
Philadelphia, PA 19101-7346                             Macrocap Labs
                                                        975 Bennett Drive
                                                        Longwood, FL 32750
ISA Inc. - Islamic Services of America
PO Box 8268
Cedar Rapids, IA 52408                                  Marburg Ind.
                                                        1207 Activity Drive
                                                        Vista, CA 92081
JHD Corp
2077 S Vineyard Ave
Ontario, CA 91761                                       Matexcel
                                                        17 RAMSEY ROAD STE 210
                                                        SHIRLEY, NY 11967
JiaHerb
1 Chapin Road Unit 1
Pine Brook, NJ 7058                                     Maxsun Industries, Inc.
                                                        5595 Daniels Street Suite H
                                                        Chino, CA 91710
John Maloney, Esq.
Gimigliano Mauriello & Maloney, P.A.
163 Madison Ave, Ste. 500 | PO Box 1449                 McMaster-Carr
Morristown, NJ 07962                                    PO Box 7690
                                                        Chicago, IL 60680
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McNaughton McKay Electric Company                       Nexira Inc.
PO Box 890976                                           15 Somerset Street
Charlotte, NC 28289                                     Somerville, NJ 8876


MGT (former Layer 3 Communications)                     NFP PROCESSING LLC
1450 Oakbrook Dr Ste 900                                PO Box 2961723 Route 17A
Norcross, GA 30093                                      Florida, NY 10921


MHC Truck Leasing                                       NiuSource Inc.
PO Box 879269                                           14266 Euclid Ave.
Kansas City, MO 64187                                   Chino, CA 91710


Mibelle Biochemistry                                    NNB Nutrition
1 International Blvd Suite 715                          No. 270 Jiqingmen St Suning Huigu
Mahwah, NJ 7495                                         Bldg E6 Room 2105
                                                        Nanjing, 210017 China,

MID CONSTRUCTION AND RENOVATIONS
3259 Peachtree Corners Cir A                            Norcross Tucker 85
Norcross, GA 30092                                      700 N. Pearl Street
                                                        Ste. N1650
                                                        Dallas, TX 75201
Mill Haven Foods
211 Leer St.
New Lisbon, WI 53950                                    Nugen Packaging
                                                        23 Vreeland RD Suite 250
                                                        Florham Park, NJ 7932
MILLION HERBS LLP
No.18 First Floor Masilamani
Nagar India                                             Nutracap Labs, LLC
                                                        c/o Brad Fallon|Fallon Law PC
                                                        1201 W. Peachtree St NW Ste 2625
MOUNTAIN ROSE HERBS                                     Atlanta, GA 30309
PO Box 50220
Eugene, OR 97405
                                                        Nutraceuticals International
                                                        50 Sindle Avenue
Nash Commercial Incorporated                            Little Falls, NJ 7424
3131 Piedmont Road Suite 200
Atlanta, GA 30305
                                                        Nutravative Ingredients
                                                        1305 North Watters Road Suite 180
National Measures                                       Allen, TX 75013
PO Box 1149
Lakeville, MN 55044
                                                        Nutricargo
                                                        222 Getty Ave
Naturally Thinking                                      Clifton, NJ 7011
Little Woodcote Estate 38A Telegraph Track
Carshalton, Wallington
SM6 0SH, United Kingdon,                                Omni Active Health Technologies, INC
                                                        67 East Park Place Suite 500
                                                        Morristown, NJ 7960
Neogen
620 Lesher Place
Lansing, MI 48912                                       Omya Specialty Materials Inc
                                                        P.O. Box 734749
                                                        Chicago, IL 60679-4749
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OpenSesame Inc.                                     Prinova USA - Flavors
1629 SW Salmon Street                               685 Hadley Road
Portland, OR 97205                                  South Plainfield, NJ 7080


Oregon Tilth                                        Priority1
PO Box 368                                          PO Box 84808
Corvallis, OR 97339                                 Dallas, TX 75284


orkin                                               Proliant Health & Biologicals
1007 Mansell Rd Ste E                               2425 SE Oak Tree Ct.
Roswell, GA 30076                                   Ankeny, IA 50021


Osage Food Products                                 Pure Assay
PO Box 743                                          14750 E Nelson Ave Ste A
Washington, MO 63090                                City of Industry, CA 91744


packaging connection                                PureSynmr Ingredients
4205 Trotters Way                                   Room 1608-1609 Union Energetic
Alpharetta, GA 30004                                Intl Tower No.1088
                                                    New Jingqiao Rd Pudong Shanghai,

PARCHEM FINE & SPECIALTY CHEMICALS
415 Hugeuenot Street                                Quench USA, Inc.
New Rochelle, NY 10801                              P.O. Box 735777
                                                    Dallas, TX 75373-5777

Parchem Nutrition
415 Huguenot St.                                    Ramp Business Corporation
New Rochelle, NY 10801                              28 West 23rd Street Floor 2
                                                    New York, NY 10010

Peachtree Inmediate Care
3551 Satellite Blvd                                 Ribus, Inc
Duluth, GA 30096                                    1355 Greg Street Suite 101
                                                    Sparks, NV 89431

Pouch It LLC
5685 New Peachtree Rd.                              Rite Weight, Inc
Atlanta, GA 30341                                   3802 Irvingdale Road
                                                    Duluth, GA 30096

Prater
2 Sammons Court                                     Robertet
Bolingbrook, IL 60440-4995                          400 International Drive
                                                    Mount Olive, NJ 7828

Prescott Advisory, LLC
152 Lincoln Road Unit 5                             Sabinsa Corporation
Lincoln, MA 1773                                    20 LAKE DRIVEEAST
                                                    WINDSOR, NJ 8520

Prinova USA
36780 Eagle Way                                     Samia L. Gore
Chicago, IL 60678-1367                              c/o Macklegal PLLC
                                                    1 Liberty Plaza Ste 1
                                                    New York, NY 10006
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Scana                                                  Tech Specialist, INC
3344 Peachtree St NE                                   810 Great Southwest Pkwy SW
Ste. 2150                                              Atlanta, GA 30336
Atlanta, GA 30326

                                                       Terry Laboratories
SENSIENT COLORS, LLC                                   7005 Technology Drive
2526 Baldwin Street                                    Melbourne, FL 32904
St. Louis, MO 63106

                                                       The Kaplan Group Commercial Collections
Shanghai Waseta Int'l Trading Co. LTD                  Kelly Butcher
Rm 2001-2002, Godlen Eagle Edifice B                   154 Addie Street
No.1518 Minsheng Rd. Pudong New Area                   Pismo Beach, CA 93449
Shanghai, 200135 P.R. China,

                                                       Thomas P. Lennon
Shri Kartikeya Pharma SKP                              c/o Brad Fallon|Fallon Law PC
5-9-225, 3rd Fl Sanali Estate                          1201 W. Peachtree St NW Ste 2625
Abids Hyderabad                                        Atlanta, GA 30309
500001, India,

                                                       Tricor Braun
SINOCHEM HEALTH COMPANY, LTD CHINA                     PO Box 745628
30F HNA Center Bldg 1 No. 234                          Atlanta, GA 30374
Yan'an 3rd Road Yan'an Road
Qingdao 266071 China,
                                                       VDF Futureceuticals, Inc
                                                       PO Box 7269
Soaper's Choice                                        Carol Stream, IL 60197
1701 Winthrop Drive
Des Plaines, IL 60018
                                                       Veritiv Operating Company
                                                       9330 NW 110th Avenue
SOCAL BULK NUTRITION LLC                               Miami, FL 33178
4000 Barranca Pkwy Suite 250
Irvine, CA 92606
                                                       Vertex Analytical Labs LLC
                                                       9335 Airway Road Suite 202
Spring Chen                                            San Diego, CA 92154
Changzhou Spring Imp and Exp Co.
No 99 Yanling West Road
Changzhou, Jiangsu, China,                             Vitajoy Group USA
                                                       12091 Forestgate Drive
                                                       Dallas, TX 75243
Starwest Botanicals
161 Main Ave
Sacramento, CA 95838                                   WB Sweetners, LLC
                                                       PO Box 960
                                                       Rock Hill, NY 12775
Stauber
4120 N Palm St
Fullerton, CA 92835                                    Wholesale Supplies
                                                       7820 E Pleasant Valley Road
                                                       Independence, OH 44131
Susan B. Shaw LLC
120 West Trinity Place Fourth Floor
Decatur, GA 30030                                      WILD Flavors & Specialty Ingredients
                                                       75 Remittance Drive Ste 1046
                                                       Chicago, IL 60675
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Wiles & Wiles, LLP
800 Kennesaw Ave Suite 400
Marietta, GA 30060


WIN HEALTH INTERNATIONAL COMPANY, LTD
Rm 323 Bld A2 No. 218 Xinghu St
Suzhou Industrial Park
Suzhou China,


WM Corporate Services, INC
PO Box 4648
Carol Stream, IL 60197


Worldwide Express
10 GLENLAKE PKWY
ATLANTA, GA 30328


Wursta Corporation
9450 SW Gemini Dr PMB 86130
Beaverton, OR 97008


WUXI CIMA SCIENCE COMPANY LTD
No. 288 Shibawan Rd
Wuxi 214064
Jiangsu China,


Z Natural Foods
5407 N Haverhill Rd Suite 337
West Palm Beach, FL 33407


ZXCHEM USA INC.
26k World's Fair Drive
Somerset, NJ 8873
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                               United States Bankruptcy Court
                               Northern District of Georgia




         Nutracap Holdings, LLC
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              01/14/2025                          /s/ Marcos Fabio Lopes e Lima
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  CEO
                                                 Position or relationship to debtor
